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                        UNITED STATES COURT OF APPEALS
                           FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                   For rules and forms visit
Clerk of Court                                                                   www.ca11.uscourts.gov


                                      September 26, 2024

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Appeal Number: 21-12314-U
Case Style: National Rifle Association, et al v. Commissioner, Florida Dept. of Law
Enforcement
District Court Docket No: 4:18-cv-00137-MW-MAF

      Counsel are directed to be prepared to address the appropriate standard by
which we adjudicate claims that a statute facially violates the rights that the Second
and Fourteenth Amendments secure. Specifically, the parties should be prepared to
address the significance of any overlap between Fla. Stat. § 790.065(13) and other
presumably constitutional laws that impose limits on gun ownership.

       In addition, appellants National Rifle Association and Brooke Stefano are
directed to address any potential mootness issues, including whether Fla. Stat. §
790.065(13) still bars Ms. Stefano from purchasing firearms in the State of Florida
because she is still younger than 21 years of age, and whether it will continue to bar
Ms. Stefano from purchasing firearms in the State of Florida through the pendency
of the appeal. And if this matter is or is about to become moot with respect to Ms.
Stefano, appellants are directed to inform us of whether they intend to correct that
situation.


Clerk's Office Phone Numbers
General Information: 404-335-6100          Attorney Admissions:            404-335-6122
Case Administration: 404-335-6135          Capital Cases:                  404-335-6200
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CM/ECF Help Desk:   404-335-6125   Cases Set for Oral Argument: 404-335-6141



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